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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


ACADEMY OF ALLERGY & ASTHMA                             CIVIL ACTION
IN PRIMARY CARE, ET AL.

VERSUS                                                  NO: 18-399

LOUISIANA HEALTH SERVICE                                SECTION: "J" (2)
AND INDEMNITY COMPANY, ET AL.



                                JUDGMENT


      Considering the Court's Orders and Reasons (Rec. Docs. [481], [482]), filed

herein,

      IT IS ORDERED, ADJUDGED and DECREED that there be judgment in favor

of Defendants, Humana, Inc., Blue Cross and Blue Shield of Kansas, Inc., Louisiana

Health Service & Indemnity Company d/b/a Blue Cross and Blue Shield of Louisiana,

and AllMed Healthcare Management, Inc., and against Plaintiffs, Academy of Allergy

& Asthma in Primary Care and United Biologics, LLC, dismissing Plaintiffs’ claims

with prejudice.

      New Orleans, Louisiana, this 30th day of November 2023.



                                            ____________________________________
                                            CARL J. BARBIER
                                            UNITED STATES DISTRICT JUDGE
